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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND? CouRT
DISTRICT OF MARYLAND

ZU MAY EL PiI2: 55

CLERK'S BEFICE
v. CASEINOT | SAG-21-0090

UNITED STATES OF AMERICA

William Mitchell BY ne amesstenenneeen BE PUT Y

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ORDER APPOINTING FEDERAL PUBLIC DEFENDER

The above named Defendant having been found to be indigent and entitled to appointment
of counsel under the Criminal Justice Act, and the government having proffered that they know of
no conflict precluding appointment of the Public Defender,

IT IS ORDERED this 10th __ day of May ,_2021 , that the Federal

 

Public Defender for the District of Maryland is appointed to represent the above named Defendant.

a. David Capperthite

 

A. David Copperthite
United States Magistrate Judge

U.S. District Court (4/2000) Criminal Magistrate Forms: Appointing Counsel
